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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


MATTHEW VANDERSLOOT, individually
and on behalf of all others similarly situated,          Civil Action No. 2:24-cv-07096-JMW

        Plaintiffs,

                v.
                                                         NOTICE OF MOTION TO ADMIT
CHARLES BARATTA LLC, D/B/A PRIME                         COUNSEL PRO HAC VICE
MARKETING.

        Defendants.



 TO:     Andrew Roman Perrong, Esq.
         Perrong Law LLC
         2657 Mount Carmel Avenue
         Glenside, PA 19038
         a@perronglaw.com
         Attorney for Plaintiffs


        PLEASE TAKE NOTICE that upon the annexed affidavit of movant in support of this

motion and the Certificate of Good Standing annexed thereto, I, Laura E. Kogan, move this Court

pursuant to Rule 1.3(c) of the Local Rules of the United States District Courts for the Eastern

District of New York for an order allowing the admission of movant, a member of the firm of

Benesch, Friedlander, Coplan & Aronoff LLP and a member in good standing of the bar of the

State of Ohio, as attorney pro hac vice to argue or try this case in whole or in part as counsel for

Defendant Charles Baratta LLC d/b/a Prime Marketing. There are no pending disciplinary

proceedings against me in any state or federal court.




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Dated: November 22, 2024                Respectfully submitted,

                                         /s/ Laura E. Kogan
                                        Laura E. Kogan (OH 0087453)
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                                           ARONOFF LLP
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